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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

LIMA ONE CAPITAL SPECIAL                        )
SERVICING, INC., a Delaware                     )
corporation,                                    )
                                                ) CIVIL ACTION FILE NO.
       Plaintiff,                               )
                                                ) 1:18-CV-04070-MLB
v.                                              )
                                                )
E.S. REAL ESTATE CONSORTIUM,                    )
CORP., a Georgia corporation;                   )
CONSORTIUM TITLE, LLC, a Virginia               )
limited liability company; INTERGRITY           )
SETTLEMENT SERVICES, LLC, a                     )
Florida limited liability company;              )
ANEAKA ENGLISH, an individual;                  )
CASITA SIMPSON, an individual; and              )
COLEEN THOMAS, an individual,                   )
                                                )
       Defendants.                              )

ANEAKA ENGLISH’S JOINDER IN E.S. REAL ESTATE CONSORTIUM,
 CORP.’S MOTION TO DISMISS AND MEMORANDUM IN SUPPORT

      COMES NOW, Defendant Aneaka English (“English”), by and through her

undersigned counsel, and hereby joins, incorporates and adopts E.S. Real Estate

Consortium Corp.’s Motion to Dismiss and Memorandum in Support (“Motion to

Dismiss”) filed on or about October 15, 2018.
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      By joining the Motion to Dismiss, English adopts and incorporates all

arguments, reasoning, and citations to law and fact, as if fully set forth herein, and

respectfully requests the same relief sought by the Motion to Dismiss.

      Respectfully submitted, this 12th day of December, 2018.


                                 SCHULTEN WARD TURNER & WEISS, LLP


                                 /s/ Kevin L. Ward
                                 Kevin L. Ward, Georgia Bar No. 737020
                                 J. Zachary Zimmerman, Georgia Bar No. 785135
                                 Megan E. Makuck, Georgia Bar No. 128253
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            CERTIFICATE OF COMPLIANCE AND SERVICE

      I hereby certify that this filing complies with the requirements of Local Rule

5.1B (Times New Roman, 14 point) and that I have this day served a copy of the

within and foregoing ANEAKA ENGLISH’S JOINDER IN E.S. REAL ESTATE

CONSORTIUM, CORP.’S MOTION TO DISMISS AND MEMORANDUM IN

SUPPORT by electronically filing the same which sends a notification of filing to

counsel of record by the CM/ECF system to:

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      So certified, this 12th day of December, 2018.

                                SCHULTEN WARD TURNER & WEISS, LLP

                                /s/ Kevin L. Ward
                                Kevin L. Ward, Georgia Bar No. 737020




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